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16
17                       IN THE UNITED STATES DISTRICT COURT

18                                FOR THE DISTRICT OF ARIZONA

19   United States of America,                             No. CR-18-465-DJH
20                            Plaintiff,
21                                                   UNITED STATES’ STATUS REPORT
               v.                                        REGARDING ANCILLARY
22                                                           PROCEEDINGS

23   Backpage.com LLC, et al.,

24                            Defendants.

25
26
     Michael Lacey, et al.,
27
                          Petitioners.
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 1                                       INTRODUCTION
 2          The United States files this this status report in advance of the presently-scheduled
 3   January 11, 2022 status conference in order to provide background on the status of these
 4   parallel ancillary proceedings, and to identify three issues to be raised with the Court.
 5          In 2018, Backpage.com LLC, its affiliates, and its then-CEO pled guilty to
 6   participation in a broad money laundering conspiracy. Pursuant to their plea agreements,
 7   these defendants agreed to forfeit the bulk of Backpage’s assets, which could then be used
 8   to satisfy a $500 million restitution order to persons victimized through Backpage’s
 9   operations. Beginning on June 29, 2018, certain of Backpage’s former owners, officers,
10   and employees, who are all defendants in the parallel criminal action, United Sates v.
11   Lacey, et al., CR-18-224-DJH (the “Lacey Action”), filed petitions seeking an ancillary
12   proceeding to determine ownership of Backpage’s forfeited assets. Since 2018, the
13   government and these petitioners have repeatedly stipulated to continue the ancillary
14   proceeding in this action based on the petitioners’ pending criminal trial.
15          In late 2021, however, the Lacey defendants moved to release millions of dollars to
16   fund their criminal defense without acknowledging that Backpage had already agreed to
17   forfeit much of the money they sought, which was the subject of the long-continued
18   ancillary proceedings here. On December 12, 2021, the Court denied the motion to release
19   funds, but did so without prejudice to be re-filed.
20          While the United States was previously willing to accommodate the Lacey
21   defendants by continuing the ancillary proceedings here pending their pending criminal
22   trial, a total standstill of these proceedings is no longer appropriate when the Lacey
23   defendants are seeking to release assets subject to forfeiture here without meeting their
24   burden in the ancillary proceeding. For this reason, at the upcoming status conference, the
25   United States will request that the Court: (1) set a briefing schedule on a motion to dismiss
26   the petitions here; (2) permit standing discovery to be served on certain of the petitioners;
27   and (3) resolve one outstanding motion to withdraw certain petitions.
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 1                                RELEVANT BACKGROUND
 2   A.     Backpage & Ferrer’s Guilty Pleas and Forfeitures
 3          On April 5, 2018, Backpage.com, LLC and several affiliates (collectively
 4   “Backpage”) pled guilty to informations charging each with money laundering
 5   conspiracies and admitting that Backpage “derived the great majority of its revenue from
 6   fees charged in return for publishing advertisements for ‘adult’ and ‘escort’ services,” that
 7   “[t]he great majority of these advertisements [were], in fact, advertisements for prostitution
 8   services,” and that after “banks, credit card companies, and other financial institutions
 9   refused to do business with Backpage,” the company “found ways to fool credit card
10   companies into believing that Backpage-associated charges were being incurred on
11   different websites, to route Backpage-related payments and proceeds through bank
12   accounts held in the name of seemingly unconnected entities.” See, e.g., Doc. 8-1 at 11-12.
13          On the same date, in United States v. Ferrer, CR-18-464, Backpage’s then-CEO,
14   Carl Ferrer, pled guilty to a money laundering and Travel Act conspiracy, admitting a
15   largely-similar factual basis, and agreed to cooperate with the government. See CR-18-464,
16   Doc. 7-1, at 12-14 (collectively with CR-18-465, the “Backpage Actions”). Both Backpage

17   and Ferrer agreed to pay $500 million in restitution to victims harmed by Backpage

18   (including, for example, victims trafficked on the Backpage.com website), and in

19   furtherance of this restitution, agreed to forfeit a broad range of assets traceable to or

20   involved in their crimes. See Doc. 8-2 at 6-8; see also CR-18-464, Doc. 7-1 at 7-9.

21          On May 16, 2012, the Court signed Preliminary Orders of Forfeiture (“POFs”) in

22   the Backpage Actions (Doc. 22; see also CR-18-464, Doc. 23), and on October 18, 2018,

23   the Court signed a stipulated Amended POF addressing certain additional assets. See Doc.

24   44. While the full list of assets identified in the POFs is lengthy, in brief summary,

25   Backpage and Ferrer agreed to forfeit a substantial amount of cryptocurrency, one parcel

26   of real property (as addressed further herein), certain internet domain names and

27   trademarks, and the contents of numerous bank accounts and security deposits (collectively

28   the “Forfeitable Assets”). The Forfeitable Assets included approximately $15 million in


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 1   funds held in Interest on Lawyers Trust Accounts funded by Backpage (the “IOLTA
 2   Funds”). See Docs. 22, 44. The total value of the Forfeitable Assets as of the date of the
 3   POFs was estimated to be at least $56 million.
 4   B.     The Petitions
 5          On June 29, 2018, Michael Lacey, James Larkin, Scott Spear, Jed Brunst, Andrew
 6   Padilla, and Joye Vaught, all defendants in the Lacey Action (“Defendant-Petitioners”),
 7   filed petitions in the Backpage Actions claiming a superior interest in virtually all of the
 8   Forfeitable Assets. See Appendix A (compilation of petitions and docket cites).
 9          Each of these petitions alleged a largely-identical factual basis for each Defendant-
10   Petitioner’s interest:
11          Petitioner holds an ownership interest in an entity that, directly or indirectly,
12          has held enforceable first-priority security interests in the Subject Assets
13          since on or about April 22, 2015. The entity(ies) acquired the interests in
14          exchange for a loan extended by that entity to Atlantische Bedrijven C.V.
15          and UGC Tech Group C.V. in or about April 2015. Petitioner also has the
16          right to advancement and indemnification from Atlantische Bedrijven C.V.
17          and UGC Tech Group C.V. pursuant to the loan agreements and related
18          purchase agreements, which advancement and indemnification obligations
19          are also secured by the first-priority security interests in the Subject Assets.
20          The Subject Assets do not contain or constitute criminal proceeds.
21          Petitioner’s interest in the Subject Assets precedes the government’s
22          purported interest in the Subject Assets. Petitioner also acquired his interest

23          in the Subject Assets as a bona fide purchaser for value. Therefore,

24          Petitioner’s interest in the Subject Assets is superior to the government’s

25          purported interest.

26   See, e.g., Doc. 28 (Lacey Petition), at 22.1

27          1
              Defendant-Petitioners Vaught and Padilla’s petitions differ in that neither asserts
28   any ownership interest in any entities, but are otherwise substantively identical to those of
     the other Defendant-Petitioners.

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 1          In addition to those petitions filed by Defendant-Petitioners, six entities controlled
 2   by certain of Defendant-Petitioners also filed petitions (“Entity-Petitioners”). See
 3   Appendix A. Entity-Petitioners alleged, in substance, that one or more of Entity-
 4   Petitioners’ affiliates had entered “purchase agreements, loan agreements, and promissory
 5   notes” secured by all of Backpage’s assets, that “[o]n information and belief, financing
 6   statements were filed with the Delaware Secretary of State, the Recorder of Deeds in the
 7   District of Columbia, and the Texas Secretary of State in April 2015 to perfect security
 8   interests in the collateral,” and that these assets were “general intangibles encumbered by
 9   the security agreements and the liens on the Subject Assets were perfected by the filing of
10   the financing statements.” See, e.g., Doc. 67 (Camarillo IOLTA Petition), at 3-4.
11          Hearings on the petitions were repeatedly continued by stipulation, in order to
12   coincide with Defendant-Petitioners’ criminal trial. See Docs. 104, 109, 111, 115, 118.
13   C.     The Lacey Action and the Funds Motion
14          On March 28, 2018, a grand jury in this District returned an indictment charging
15   Defendant-Petitioners and others with knowingly facilitating prostitution and engaging in
16   money laundering, and in July of 2018, the grand jury issued a Superseding Indictment.
17   See United States v. Lacey, et al., Case No. CR-18-422, Doc. 230.
18          On October 26, 2021, certain of Defendant-Petitioners moved this Court to release
19   millions of dollars in seized assets, purportedly to fund their criminal defense. See Lacey
20   Act., Doc. 1366 (the “Funds Motion”). The Funds Motion sought release of four subsets
21   of assets, which included “[o]ver $10 Million” in funds seized from attorney trust accounts
22   (the IOLTA Funds, described above). On December 10, 2021, this Court denied the Funds
23   Motion, without prejudice to be refiled if Defendant-Petitioners first made a prima facie
24   showing that their net financial resources and income were insufficient to pay their counsel.
25   See Lacey Act., Doc. 1438 (the “December 12 Order”), at 16.
26          As of the date of this Status Report, Defendant-Petitioners have not sought to refile
27   their Funds Motion.
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 1                                        RELEVANT LAW
 2          Forfeiture in a criminal action is governed by Federal Rule of Criminal Procedure
 3   32.2. Upon a determination that property is subject to forfeiture, a court must enter a
 4   Preliminary Order of Forfeiture “without regard to any third party’s interest in the
 5   property,” as the determination of any potential third-party interest in property “must be
 6   deferred until any third party files a claim in an ancillary proceeding under Rule 32.2(c).”
 7   Rule 32.2(b)(2). Where a third party asserts an interest in the subject property, the court
 8   must hold an ancillary proceeding to determine the ownership of the property, as set forth
 9   in 21 U.S.C. § 853(n). See Rule 32.2.(c); see also Stefan D. Cassella, Asset Forfeiture Law
10   in the United States (2d ed. 2013), § 23-2 (“Cassella”) (“[T]he one and only purpose of the
11   ancillary proceeding is to determine the ownership of the property”). At the ancillary
12   proceeding, the burden is on the third party to establish either that (1) the third party had a
13   preexisting interest in the subject property superior to the convicted defendant, or (2) was
14   an innocent owner of the property. See 21 U.S.C. § 853(n)(6)(A-B).
15          In the ancillary proceeding, a petitioning third party must first establish standing to
16   assert any purported ownership interest. See Rule 32.2(c)(1)(A) (“In the ancillary
17   proceeding, the court may, on motion, dismiss the petition for lack of standing, for failure
18   to state a claim, or for any other lawful reason. For purposes of the motion, the facts set
19   forth in the petition are assumed to be true.”). Standing is a petitioner’s burden, and “[a]
20   petition must set forth the legal basis and all grounds for the third-party’s claimed interest
21   in the property, and the third-party may not later amend the petition to assert additional
22   grounds for relief.” United States v. Dupree, 919 F. Supp. 2d 254, 263 (E.D.N.Y.
23   2013), aff'd in part, vacated in part sub nom. United States v. Watts, 786 F.3d 152 (2d Cir.
24   2015). A petition must set forth “enough facts to state a claim to relief that is plausible on
25   its face to survive dismissal.” Willis Mgmt. Ltd. v. United States, 652 F.3d 236, 241-42 (2d
26   Cir. 2011) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)). While a
27   court must assume that facts alleged in a petition are true, the court is not required to credit
28   legal conclusions. See United States v. Madoff, No. 09-CR-213-DC, 2012 WL 1142292, at


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 1   *3 (S.D.N.Y. Apr. 3, 2012).
 2          With respect to standing, “[w]hen a claim is filed in the ancillary proceeding, the
 3   court looks to the law of the jurisdiction that created the claimant’s property interest to see
 4   what interest the claimant has in the property, and then looks to federal law to see if that
 5   interest is sufficient to exempt the property from forfeiture under the federal forfeiture
 6   statute.” Cassela, § 23-12(a). In short, first the Court looks to state law to determine the
 7   existence of any purported interest, and then looks to federal law to assess its sufficiency.
 8   See id., at § 23-12(b-c); United States v. Nava, 404 F.3d 1119, 1128–29 (9th Cir. 2005)
 9   (“Federal forfeiture statutes govern the disposition of property, but state law determines
10   what rights, title or interests the various claimants possess in that property”).
11          Finally, unsecured creditors do not have standing to challenge forfeiture of a
12   debtors’ property, although creditors who have properly secured their interests may have
13   standing. See United States v. $20,193.39 U.S. Currency, 16 F.3d 344, 346 (9th Cir. 1994);
14   see also Madoff, 2012 WL 1142292, at *4 (“To have a claim in the specific property, a
15   creditor, therefore, must secure a judgment or perfect a lien against a particular item”).
16                               DISCUSSION & STATUS UPDATE
17          The United States respectfully seeks to raise the following items at the January 11,
18   2022 status conference: 2
19          1. Request for a Briefing Schedule on A Motion to Dismiss the Petitions on
20              Standing Grounds
21          As the Court noted in its December 12 Order denying the Funds Motion, “it is
22   unclear to the Court at this point what ownership rights Defendants have with regard to the
23   four categories of funds identified in their Motion. … If Backpage or Ferrer has superior
24   rights to the seized assets and has stipulated to their forfeiture, then Defendants have no
25   grounds at all to seek their release.” Lacey Act., Doc. 1438 at 11, n.6. The Court’s
26   observation is entirely accurate: Defendant-Petitioners cannot seek to release and spend
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              Should the Court decide sua sponte to continue the status conference, the United
     States respectfully requests that the Court instead address these matters in a minute order.

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 1   funds identified in the POFs without first meeting the standards in 21 U.S.C. § 853(n)(6).
 2   And as a threshold issue, Defendant-Petitioners must first sufficiently allege standing to
 3   contest forfeiture of the Forfeitable Assets, which their current petitions simply fail to do.
 4   As briefly explained below, Defendant-Petitioners’ barely three-sentences of factual
 5   allegations fail to meet even the low bar of the Twombly/Iqbal standard, and more
 6   importantly, appear to be asserting standing as shareholders in unidentified corporate
 7   entities (presumably, Entity-Petitioners), or alternately, suggesting that they have interests
 8   secured by other, unidentified third parties (again, apparently Entity-Petitioners).
 9                 a. Defendant-Petitioners Fail to Meet the Twombly/Iqbal Standard
10          Once stripped of legal argument (which the Court need not credit at this stage),
11   Defendant-Petitioners’ petitions allege just three sentences of purported facts. They do not
12   identify what purported entities provide the basis for their purported interest in the
13   Forfeitable Assets, do not identify what state law governs their purported interests, do not
14   identify the amount of any purported loans, and do not identify who purportedly secured
15   any alleged interest in the Forfeitable Assets (or if they personally secured these interests
16   at all). Neither do the petitions provide any facts about the purported advancement and
17   indemnification obligations asserted, such as the amount of these obligations or when they
18   were first asserted or invoked. None of Defendant-Petitioners attach any purported
19   agreements, loans, or security documents to their petitions. See United States v. Hassan,
20   411 F. Supp. 3d 1302, 1308 (M.D. Fla. 2019) (“To survive dismissal, ‘a third-party
21   petitioner must offer enough detail about the nature and extent of his interest and the time
22   and circumstances of his acquisition of that interest to allow the Court to determine whether
23   the petition merits a hearing.’”); cf. United States v. BCCI Holdings (Luxembourg) S.A., 69
24   F. Supp. 2d 36, 55 (D.D.C. 1999) (collecting cases where petitions dismissed for failure to
25   describe the nature of claimant’s interest as required by statute).
26                 b. Defendant-Petitioners Are Attempting to Assert Shareholder Standing
27          What little Defendant-Petitioners have alleged strongly suggests that they are
28   attempting to assert standing based on their ownership or control of unidentified corporate

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 1   entities. Even without knowing what state law would govern Defendant-Petitioners’
 2   purported interests, general principles of corporate law and binding Ninth Circuit precedent
 3   hold that the shareholders lack standing to contest forfeiture on a corporation’s behalf.
 4          As noted above, certain of Defendant-Petitioners explicitly state that they “hold[]
 5   an ownership interest in an entity that, directly or indirectly, has held enforceable first-
 6   priority security interests in the Subject Assets” and that pursuant to agreements these
 7   unnamed entities are party to, Defendant-Petitioners are entitled to indemnification
 8   obligations. This assertion of standing, however, is squarely foreclosed by binding
 9   precedent, which the Ninth Circuit recognized in U.S. v. Aguilar. 782 F.3d 1101, 1108 (9th
10   Cir. 2015); see also United States v. Boscarino, CR 10-1942-TUC-CKJ, 2013 WL
11   1833018, at *2 (D. Ariz. Apr. 30, 2013) (“[C]orporate property is vested in the corporation
12   rather than in the stockholders. In other words, M. Boscarino does not have an individual
13   interest in the assets held in the bank accounts. The Court finds M. Boscarino does not have
14   standing to assert any interest in the bank accounts.” (internal citation omitted)). Entity-
15   Petitioners have already filed petitions, 3 and Defendant-Petitioners cannot piggy-back their
16   standing on corporate entities which appear fully-capable of appearing and advancing their
17   own purported interests.
18          2. Request for Standing Discovery & Timing of Ancillary Proceedings
19          As stated above, the United States does not believe that any of the Petitioners have
20   sufficiently alleged standing at the present time, but assuming arguendo that at least one
21   of Entity-Petitioners is the affiliate or entity described in their petitions, the United States
22   requests permission to serve limited standing discovery on Entity-Petitioners, targeted
23   solely at clarifying these standing questions. See Cassela, § 23-7 (“Rule 32.2(c)(1)(B)
24   provides that the court may permit the parties to conduct discovery in the ancillary
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               Entity-Petitioners have alleged more facts than Defendant-Petitioners, but their
     petitions still vaguely assert that affiliates of Entity-Petitioners engaged in the transactions
27   described, often on information and belief. As described below, however, because of the
     state law questions involved, the United States submits that limited discovery is the most
28   efficient means of assessing Entity-Petitioners’ standing. In contrast, Defendant-Petitioners
     do not even suggest what law might govern their purported interests.

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 1   proceeding in accordance with the Federal Rules of Civil Procedure ‘if the court determines
 2   that discovery is necessary or desirable to resolve factual issues.’” (quoting Rule 32.2)).
 3   While discovery is not automatic in an ancillary proceeding, the United States submits that
 4   limited discovery as to Entity-Petitioners’ alleged standing here may resolve these
 5   proceedings expeditiously.
 6          The Ninth Circuit has long recognized that general creditors and secured creditors
 7   are treated very differently in ancillary proceedings, and as such, the existence and validity
 8   of any purported secured interest is a critical threshold question. See $20,193.39, 16 F.3d
 9   at 346 (“Unlike secured creditors, general creditors cannot claim an interest in any
10   particular asset that makes up the debtor's estate.”); see also Cassela, § 23-12(b) (“A court
11   will look to state commercial law to determine if the defendant’s creditors have properly
12   recorded liens against the forfeited property”). Here, Entity-Petitioners’ have each alleged
13   that affiliates of Entity-Petitioners engaged in transaction(s) with Backpage, and that their
14   contractual interests were secured in a variety of jurisdictions by way of filing financing
15   statements. Compare Doc. 67 (Camarillo IOLTA petition), at 4 (“On information and
16   belief, financing statements were filed with the Delaware Secretary of State, the Recorder
17   of Deeds in the District of Columbia, and the Texas Secretary of State in April 2015 to
18   perfect security interests in the collateral.”); with 6 Del.C. § 9-314(b) (“A security interest
19   in deposit accounts, electronic chattel paper, letter-of-credit rights, or electronic documents
20   is perfected by control … when the secured party obtains control and remains perfected by
21   control only while the secured party retains control.”). Because state law will govern
22   whether these interests were properly secured, and because it will be Entity-Petitioners'
23   burden to establish as such, limited discovery as to Entity-Petitioners’ purported secured
24   interests has the potential to resolve their petitions relatively efficiently.
25          Separate from this limited standing and discovery issues addressed above, however,
26   the United States recognizes that judicial efficiency will likely be best served by staying
27   any other discovery in the ancillary proceedings until the conclusion of Defendant-
28   Petitioners’ criminal trial. This is because the United States expects that the core of


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 1   Defendant-Petitioners’ argument will be that they are bona-fide purchasers for value
 2   pursuant to 21 U.S.C. §853(n)(6)(B). As such, Defendant-Petitioners will bear the burden
 3   of showing that they were reasonably “without cause to believe that the property was
 4   subject to forfeiture” – i.e., that they were unaware of the conspiracies which Backpage
 5   and Ferrer have admitted to. Because this issue is expected to be part of Defendant-
 6   Petitioners’ criminal trial, where Ferrer is expected to testify for the United States, the
 7   government submits that conducting discovery outside the limited issue of standing would
 8   largely retread issues which are expected to be addressed at trial.
 9          3. The Stipulated Resolution of April Ferrer’s Petition
10          On January 11, 2019, April Ferrer, the former spouse of defendant Ferrer, filed a
11   petition in Case No. CR-18-464, at Doc. 58. On November 22, 2021 April Ferrer and the
12   United States reached a stipulated agreement resolving April Ferrer’s petition (Doc. 114),
13   which stated, in substance, that the United States would not seek forfeiture of a residence
14   in The Colony, Texas (the “Residence”) which petitioner Ferrer was seeking in her divorce
15   from defendant Ferrer, and in return, petitioner Ferrer would withdraw her petition as to
16   any other assts forfeited by defendant Ferrer. Petitioner Ferrer’s motion to withdraw her
17   petition has yet to be addressed, as it was filed shortly after the Backpage Actions were
18   reassigned to Your Honor.
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 1                                       CONCLUSION
 2         The United States respectfully requests that the Court address the above-described
 3   issues at the January 11, 2022, Status Conference.
 4         Respectfully submitted this 5th day of January, 2022.
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15                                            Senior Trial Attorney
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 1                                    APPENDIX A
 2            CR-18-464 (Ferrer)                         CR-18-465 (Backpage)
 3   Document           Petitioner          Document                Petitioner
 4       29               Lacey                     28                 Lacey
 5       30              Padilla                    29                Padilla
 6       31              Vaught                     30                Vaught
 7       32              Larkin                     31                Larkin
 8       33               Spear                     32                 Spear
 9       34              Brunst                     33                Brunst
10       36      Shearwater Holdings LLC            35       Shearwater Holdings LLC
11       37       Medalist Holdings Inc.            36        Leeward Holdings LLC
12       38      Vermillion Holdings LLC            37        Camarillo Holdings LLC
13       39       Cereus Properties LLC             38         Cereus Properties LLC
14
         40      Camarillo Holdings LLC             39       Vermillion Holdings LLC
15
         41       Leeward Holdings LLC              40         Medalist Holdings Inc.
16
                                                    61           Lacey (IOLTAs)
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                                                    62           Larkin (IOLTAs)
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                                                    64           Brunst (IOLTAs)
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                                                    65          Medalist (IOLTAs)
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                                                    66          Leeward (IOLTAs)
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                                                    67          Camarillo (IOLTAs)
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                                                    68         Vermillion (IOLTAs)
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                                                    69           Cereus (IOLTAs)
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                                                    70         Shearwater (IOLTAs)
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                                                    71           Padilla (IOLTAs)
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                                                    72           Vaught (IOLTAs)
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                                                    73            Spear (IOLTAs)
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 1                                CERTIFICATE OF SERVICE
 2          I hereby certify that on January 5, 2022, I electronically transmitted the attached
 3   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
 4   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
 5   as counsel of record.
 6   s/Zachry Stoebe
 7   U.S. Attorney’s Office

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